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                            IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW MEXICO

K.M. SKELLY, INC.                                 )
                                                  )
               Plaintiff,                         )
                                                  )
vs.                                               )
                                                                           Case No.
                                                  )
SEASIDE PARTNERS, LLC,                            )
                                                  )
               Defendant.                         )
                                                  )

                                     NOTICE OF REMOVAL

       NOW COMES Defendant Seaside Partners, LLC (“Seaside” or “Defendant”), by and

through its undersigned attorneys, and hereby gives notice of removal pursuant to 28 U.S.C. §§

1332, 1441 and 1446 of the action styled K.M. Skelly v. Seaside Partners, LLC, Civil Action No.

D-101-CV-2017-02182, filed by Plaintiff K.M. Skelly, Inc. (“Plaintiff”) in the New Mexico First

Judicial District Court, Santa Fe County, New Mexico (the “State Lawsuit”).             Seaside

respectfully states the following as grounds for removal of this action:

                            Procedural History and Timeliness of Removal

       1.      On or about August 3, 2017, Plaintiff filed the Amended Complaint to Foreclose

Lien and for Breach of Contract and a Summons for this Amended Complaint was issued. Copies

of the Amended Complaint and related Summons are attached as Exhibit A.

       2.      Upon information and belief, Plaintiff filed a Complaint on August 2, 2017, but a

Summons was not issued and Plaintiff did not serve this Complaint on Seaside.

       3.      Service of the Summons and Amended Complaint was made upon Seaside on or

about August 12, 2017.




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       4.      28 U.S.C. § 1446(b)(2)(B) provides that for cases removed on the grounds of

diversity jurisdiction, “Each defendant shall have 30 days after receipt by or service on that

defendant of the initial pleading or summons described in paragraph (1) to file the notice of

removal.”

       5.      Seaside’s Notice of Removal is therefore timely under 28 U.S.C. §1446(b). This

Notice of Removal is filed within thirty (30) days of service of the Amended Complaint and

Summons, and the date by which Seaside is required to answer or otherwise respond to

Plaintiff’s Amended Complaint has not yet expired.

       6.      Exhibit A to this Notice of Removal contains copies of all process received by

Seaside in the State Lawsuit.

         This Court Has Subject Matter Jurisdiction Pursuant to 28 U.S.C. 1332(a)

       7.      Under 28 U.S.C. § 1332(a), this Court has original subject-matter jurisdiction

over a civil action if there is complete diversity of citizenship and the amount in controversy

exceeds $75,000, exclusive of interest and costs. As set forth below, all requirements of 28

U.S.C. § 1332 and 1441 are satisfied in this case.

       8.      The Parties are completely diverse.

       9.      Plaintiff alleged in the Amended Complaint that Seaside is a North Carolina

limited liability company with its primary place of business in Palm Beach, Florida. (Amended

Comp. ¶ 2.) Plaintiff further alleged that Seaside is a single member limited liability company,

whose only member is Roxanne Quimby, who lists her address in Palm Beach, Florida. (Id.)

       10.     Plaintiff also alleged in the Amended Complaint that it is a New Mexico

corporation with its principal place of business in Santa Fe, New Mexico. (Comp. ¶ 1.)




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        11.     Accordingly, there is complete diversity of citizenship as Plaintiff is a citizen of

New Mexico and Seaside is a citizen of Florida.

        12.     Without conceding that Plaintiff is entitled to any damages whatsoever from

Seaside, the purported amount in controversy in the action exceeds $75,000.

        13.     Plaintiff alleged that Seaside violated a Construction Contract by failing to

compensate Plaintiff for work performed, which Seaside denies.

        14.     Plaintiff seeks compensatory damages, punitive damages, prejudgment interest,

costs, and attorneys’ fees in this action. Plaintiff claims in its Amended Complaint that it is owed

$279,990.32 under the contract with Seaside. (Amended Comp. ¶ 20.)

        15.     Under 28 U.S.C. § 1332(a), this Court has original subject-matter jurisdiction

over a civil action if there is complete diversity of citizenship and the amount in controversy

exceeds $75,000. As set forth below, all requirements of 28 U.S.C. § 1332 and 1441 are

satisfied in this case.

        16.     This Court has original jurisdiction over this action under 28 U.S.C. § 1332(a),

because the matter in controversy exceeds the sum of $75,000.00 and is between citizens of

different states.

                                Removal to this District is Proper

        17.     Based upon the foregoing, Seaside desires and is entitled to have the State

Lawsuit removed from the New Mexico First Judicial District Court, Santa Fe County to the

United States District Court for New Mexico, Northern Division.

        18.     Seaside respectfully requests that this Court accept this Notice of Removal,

assume jurisdiction over the action, and issue such orders and process as may be necessary going

forward.




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       19.     Pursuant to 28 U.S.C. § 1446(d), Seaside’s written notice of the filing of this

Notice of Removal will be served upon counsel for all parties, and a Notice to State Court of

Filing Notice of Removal will be filed simultaneously with the Clerk of the First Judicial District

Court of the County of Santa Fe. See Notice to State Court of Filing Notice of Removal (without

Exhibits) attached as Exhibit B.

       20.     WHEREFORE, Defendant Seaside Partners, LLC, prays that the above-captioned

action, now pending in the New Mexico First Judicial District Court, Santa Fe County be

removed to the United States District Court for New Mexico, Northern Division.



       Respectfully submitted, this the 8th day of September, 2017.


                                              SOMMER KARNES & ASSOCIATES, LLP

                                              /s/ Karl H. Sommer
                                              Karl H. Sommer
                                              N.M. State Bar No. 4846
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                                              200 W. Marcy Street, Ste 133
                                              Santa Fe, NM 87501
                                              Telephone: (505) 989-3800

                                              Counsel for Defendant




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                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a copy of the foregoing Notice of Removal

was, on the date set forth below, filed electronically, using this Court’s CM/ECF system and,

further, that a hard copy of the foregoing Notice of Removal was served upon the Plaintiff in this

action, via United States Mail, first class, postage-prepaid, addressed as follows:


                                      Mark L. Ish, Esq.
                                      William D. Winter, Esq.
                                      Bryan M. Rowland, Esq.
                                      Felker, Ish, Ritchie & Geer, P.A.
                                      911 Old Pecos Trail
                                      Santa Fe, NM 87505

                                      Counsel for Plaintiff



       This, the 8th day of September, 2017.

                                               /s/ Karl H. Sommer




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